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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA

Case No. 1:19-CR-10080-NMG

DAVID SIDOO, et al.,

Defendants.

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MICHELLE JANAVS’ SECOND MOTION TO MODIFY SENTENCE

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